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TURTLE RCM sm QoL immer CLs

 

United States Bankruptcy Court for the:
DISTRICT OF NEVADA

Case number (if known) Chapter 41

 

1 Check if this an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name LAREDO INVESTMENTS LLC

 

2. Allother names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal
Employer identification  XX-XXXXXXX
Number (EIN)

 

 

 

 

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
7382 Laredo St 82 Ocean Harbour LN
Las Vegas, NV 89117 Las Vegas, NV 89148
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Clark Location of principal assets, if different from principal
County place of business

 

Number, Street, City, State & ZIP Code

 

5. Debtor's website (URL)

 

 

6. Type of debtor ™@ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
( Partnership (excluding LLP)
C) Other. Specify:

 

 

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy page 1
Case 20-12312-mkn
LAREDO INVESTMENTS LLC

Debtor
Name

7. Describe debtor's business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small
business debtor” must check
the first sub-box. A debtor as
defined in § 1182(1) who
elects to proceed under
subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor’) must
check the second sub-box.

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Case number (if known)

 

A. Check one:

C] Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 107(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

OOOdOO g@

B. Check ail that apply

1] Tax-exempt entity (as described in 26 U.S.C. §501)

C] Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
(1 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See http:/Awww.uscourts.gov/four-digit-national-association-naics-codes.

Check one:
CO Chapter 7
[J Chapter 9

H Chapter 11. Check all that apply.

Ml the debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
$2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not
exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 11
(Official Form 207A) with this form.

The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

oa

C] Chapter 12

 

9. Were prior bankruptcy
cases filed by or against
the debtor within the last 8
years?

If more than 2 cases, attach a
separate list.

a No.
Cl Yes.

When Case number

When

District

District Case number

 

10. Are any bankruptcy cases
pending or being filed by a
business partner or an

affiliate of the debtor?

List all cases. If more than 1,
attach a separate list

BNno

[J Yes.

Debtor Relationship

District

 

When Case number, if known

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 20-12312-mkn
LAREDO INVESTMENTS LLC

Debtor
Name

11. Why is the case filed in
this district?

Check all that apply:

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Case number (if known)

 

MH Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

[C] A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

a No
Yes.

Why does the property need immediate attention? (Check all that apply.)

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

C1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

(C1 It needs to be physically secured or protected from the weather.

(C1 it includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

CJ Other

 

Where is the property?

Is the property insured?
0 No

Ol Yes. Insurance agency
Contact name

Phone

 

Number, Street, City, State & ZIP Code

 

 

 

 

| Statistical and administrative information

13. Debtor's estimation of
available funds

Check one:

@ Funds will be available for distribution to unsecured creditors.

() After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

14. Estimated number of
creditors

Mi 1-49

1] 50-99
2 100-199
C1] 200-999

CI 1,000-5,000
[2] 5001-10,000
C1 10,001-25,000

(1) 25,001-50,000
0 50,001-100,000
CI] More than100,000

 

15. Estimated Assets

(I $0 - $50,000
[$50,001 - $100,000
CZ $100,001 - $500,000
Mi $500,001 - $1 million

C1 $1,000,001 - $10 million
[$10,000,001 - $50 million
£1) $50,000,001 - $100 million
1] $100,000,001 - $500 million

CJ $500,000,001 - $1 billion

[2] $1,000,000,001 - $10 billion
C1 $10,000,000,001 - $50 billion
Cl More than $50 billion

 

16. Estimated liabilities

CO $0 - $50,000

[1 $50,001 - $100,000
Hi $100,001 - $500,000
(J $500,001 - $1 million

£1 $1,000,001 - $10 million

1 $10,000,001 - $50 miltion
0 $50,000,001 - $100 million
[J $100,000,001 - $500 million

[2] $500,000,001 - $1 billion

[1 $1,000,000,001 - $10 billion
CJ $10,000,000,001 - $50 billion
CJ More than $50 billion

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3
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Debtor LAREDO INVESTMENTS LLC

Name

ES Request for Relief, Declaration, and Signatures

Case number (if known)

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature

of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

representative of debtor

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executedon May 13, 2020
MM/DD/YYYY

X Isi Mathieu Serre
Signature of authorized representative of debtor

Title Managing Member

Mathieu Serre
Printed name

 

X Is! MICHAEL J. HARKER

18. Signature of attorney
Signature of attorney for debtor

MICHAEL J. HARKER 5353
Printed name

LAW OFFICES OF MICHAEL J. HARKER

Firm name

2901 EL CAMINO AVE STE# 200
Las Vegas, NV 89102
Number, Street, City, State & ZIP Code

Contact phone 702-248-3000 Email address

5353 NV
Bar number and State

Date May 13, 2020
MM /DD/YYYY

NOTICES@HARKERLAWFIRM.COM

Official Form 201 Voluntary Petition for Non-individuals Filing for Bankruptcy

page 4
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Fill in this information to identify the case:

Debtorname LAREDO INVESTMENTS LLC

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

Case number (if known)

 

( Check if this is an
amended filing

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors ia

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,

and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,

1519, and 3571.

Ea Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

 

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

Schedule H: Codebtors (Official Form 206H)
Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Other document that requires a declaration

 

OOOOOOO8 @

 

| declare under penalty of perjury that the foregoing is true and correct.

Executedon May 13, 2020 X Is/ Mathieu Serre
Signature of individual signing on behalf of debtor

Mathieu Serre
Printed name

Managing Member
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

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Fill in this information to identify the case:

Debtorname LAREDO INVESTMENTS LLC

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

Case number (if known)

 

( Check if this is an
amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 12/45

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1, Does the debtor have any cash or cash equivalents?

EI No. Go to Part 2.

(CJ Yes Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

WI No. Go to Part 3.
CI Yes Fill in the information below.

Accounts receivable
10. Does the debtor have any accounts receivable?

FI No. Go to Part 4.
CQ Yes Fill in the information below.

Investments
13. Does the debtor own any investments?

HI No. Go to Part 5.
CI Yes Fill in the information below.

Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

HI No. Go to Part 6.
C1 Yes Fill in the information below.

mugen Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

WI No. Go to Part 7.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1

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Debtor LAREDO INVESTMENTS LLC Case number (if known)

Name

 

(J Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

EI No. Go to Part 8.
CI Yes Fill in the information below.

Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

ME No. Go to Part 9.
(J Yes Fill in the information below.

54. Does the debtor own or lease any real property?

 

C1) No. Go to Part 10.
Hl Yes Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Description and location of Nature and Net book value of Valuation method used Current value of
property extent of debtor's interest for current value debtor's interest
include street address or other debtor's interest (Where available)
description such as Assessor in property

Parcel Number (APN), and type
of property (for example,
acreage, factory, warehouse,
apartment or office building, if

 

 

 

available.
55-1. 7382 Laredo St
Las Vegas, NV 89117 Fee simple $0.00 $600,000.00
56. Total of Part 9. $600,000.00

 

 

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
Copy the total to line 88.

 

57. Is a depreciation schedule available for any of the property listed in Part 97
BNo
Cl Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
HNo
CJ Yes

Part 10: Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

BI No. Go to Part 11.
[1] Yes Fill in the information below.

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

 

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2

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Debtor LAREDO INVESTMENTS LLC Case number (/f known)

 

 

Name

BI No. Go to Part 12.
Cl Yes Fill in the information below.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3

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Debtor LAREDO INVESTMENTS LLC

Name

Part.12: Summary

In Part 12 copy all of the totals from the earlier parts of the form

80.

81.
82.
83.
84.
85.

86.

87.

88.

89.

90.

91.

92.

Official Form 206A/B

Case number (if known)

 

 

Type of property

Cash, cash equivalents, and financial assets.
Copy line 5, Part 1

Deposits and prepayments. Copy line 9, Part 2.
Accounts receivable. Copy line 12, Part 3.

Investments. Copy line 17, Part 4.

Inventory. Copy line 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 51, Part 8.

Real property. Copy line 56, Part 9.0... cceeeeccesctesecesceeeeeerrenees

Intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 11.

Current value of
personal property |

$0.00

$0.00
$0.00
$0.00
$0.00
$0.00

$0.00

$0.00

$0.00
$0.00

Current value of real

property

 

 

$600,000.00

 

 

 

 

Total. Add lines 80 through 90 for each column

 

$0.00

 

+ 91b.

 

$600,000.00

 

 

 

Total of all property on Schedule A/B. Add lines 91a+91b=92

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Schedule A/B Assets - Real and Personal Property

 

 

$600,000.00

 

 

page 4

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Fill in this information to identify the case:

Debtorname LAREDO INVESTMENTS LLC

United States Bankruptcy Court for the: DISTRICT OF NEVADA

Case number (if known)

 

[] Check if this is an
amended filing

 

 

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
[J No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

El Yes. Fill in all of the information below.

List Creditors Who Have Secured Claims

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured

claim, list the creditor separately for each claim. Amount of claim Value of collateral
that supports this

Do not deduct the value claim

Column A Column B

 

 

 

 

 

 

 

 

 

 

 

of collateral.
24 SECURTIYNATIONAL
‘" |MORTGAGE COMPANY Describe debtor's property that is subject to a lien $435,000.00 $600,000.00

Creditor's Name 7382 Laredo St
5300 SOUTH 360 WEST Las Vegas, NV 89117
SUITE 300
Salt Lake City, UT 84123
Creditor's mailing address Describe the lien

Deed of Trust

Is the creditor an insider or related party?

Bi no
Creditor's email address, if known Oo Yes

Is anyone else liable on this claim?
Date debt was incurred Mino
3/2018 C1 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
1828
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
NS Oo Contingent
[J Yes. Specify each creditor, [1 unliquidated
including this creditor and its relative BF disputed
priority.

 

 

3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any. $435,000.00

List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

 

Name and address On which line in Part 1 did Last 4 digits of
you enter the related creditor? account number for
this entity
INTEGRATED LENDER SERVICES INC
2461 WEST LA PALMA AVE Line 2.4
SUITE 120

Anaheim, CA 92801

Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1

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